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14   Synapse Financial Technologies, Inc.

15

16                            UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA
17                              SAN FERNANDO VALLEY DIVISION
18
      In re:                                      Case No.: 1:24-bk-10646-MB
19
      SYNAPSE FINANCIAL TECHNOLOGIES, Chapter 11 Case
20    INC.,
                                      CHAPTER 11 TRUSTEE’S MOTION
21                 Debtor.            FOR AN ORDER (A) APPROVING
                                      BIDDING PROCEDURES WITH
22                                    RESPECT TO THE TRANSFER AND
23                                    SALE OF SUBSTANTIALLY ALL OF
                                      THE DEBTOR’S ASSETS,
24                                    (B) APPROVING PROCEDURES
                                      RELATED TO THE ASSUMPTION AND
25                                    ASSIGNMENT OF CERTAIN
                                      EXECUTORY CONTRACTS AND
26
                                      UNEXPIRED LEASES, (C) APPROVING
27                                    THE FORM AND MANNER OF
                                      NOTICES RELATED TO THE
28                                    AUCTION AND SALE,
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                                             (D) SCHEDULING THE SALE
 1                                           HEARING AND (E) GRANTING
 2                                           RELATED RELIEF

 3                                           Date: TBD
                                             Time: TBD
 4                                           Place: Courtroom 303
                                                    21041 Burbank Blvd.
 5                                                  Woodland Hills, CA 91367
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 1          TO THE HONORABLE MARTIN BARASH, UNITED STATES BANKRUPTCY

 2   JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND INTERESTED PARTIES:

 3          Pursuant to Sections 105(a), 363 and 365 of the Bankruptcy Code, and Rules 2002, 6004

 4   and 6006 of the Federal Rules of Bankruptcy Procedure (the “Federal Bankruptcy Rules”), Local

 5   Bankruptcy Rules 6004-1 (b) and 9013-1 (together with the Federal Bankruptcy Rules, the

 6   “Bankruptcy Rules”), and other applicable sections of the Bankruptcy Code and Bankruptcy Rules,

 7   Jelena McWilliams, the duly appointed, qualified and acting chapter 11 trustee (the “Trustee”) for

 8   the estate of Synapse Financial Technologies, Inc., chapter 11 debtor in the above-captioned
 9   chapter 11 bankruptcy case (the “Debtor”), hereby moves, by way of this Motion (the “Motion”)
10   for entry of the Order (the “Bidding Procedures Order”), in substantially the form attached hereto

11   as Exhibit A, which, among other things, provides for:

12          1.      Approval of the auction sale format and Bidding Procedures in the form attached

13   to the Bidding Procedures Order;

14          2.      Approval of the Trustee’s proposed form of auction and sale hearing notice to be

15   provided to creditors of the Debtor and its non-debtor subsidiaries and other parties-in-interest in

16   the form attached hereto as Exhibit B;

17          3.      Approval of the Trustee’s proposed form of notice and procedures regarding the

18   assumption and assignment of executory contracts and unexpired leases, establishment of cure

19   amounts, and objections to be provided to all non-debtor parties (including non-debtor subsidiaries

20   if applicable) to such contracts and leases in the form attached hereto as Exhibit C;

21          6.      The scheduling of a Court hearing to consider approval of the sale of substantially

22   all of the Debtor’s assets (or a subset thereof) (the “Purchased Assets”) to the Winning Bidder

23   (defined below) or the Winning Back-Up Bidder (defined below), pursuant to the terms and

24   conditions of the asset purchase agreement with the Winning Bidder (the “Asset Purchase

25   Agreement”) and a copy of the Asset Purchase Agreement with the Winning Back-Up Bidder, as

26   the case may be, and the Bidding Procedures.

27          Background Information

28          On April 22, 2024 (the “Petition Date”), the Debtor filed a voluntary petition under
                                                      1
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 1   chapter 11 of 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), schedules and statement of

 2   financial affairs. That same day, the Debtor filed an emergency motion for an order approving the

 3   sale of all its assets for $9.7 million to TabaPay Holdings LLC .and requested that a hearing take

 4   place on April 29, 2024. [Dkt. No. 8.] The Debtor has proprietary technology and software that

 5   essentially allows financial technology platforms called “fintechs” to provide certain financial

 6   products and services to the fintechs’ customers (referred to as end users) through certain banking

 7   and financial service providers (“Partner Financial Institutions”). Id. The Debtor also filed a

 8   motion to approve a settlement reached with Evolve Bank & Trust (“Evolve”), one of its Partner
 9   Financial Institutions.

10          On May 1, 2024, the Court entered an order approving bidding procedures and set a hearing

11   to approve the sale for May 9, 2024. [Dkt. No. 92.] The Debtor reported at the May 9 hearing that

12   the settlement with Evolve had not been consummated due to disputes over Evolve funding a

13   settlement payment and that TabaPay Holdings LLC was unwilling to proceed with the sale

14   without the Evolve settlement.

15          On May 13, 2024, Evolve filed a motion for an order restoring access to the “Debtor’s

16   Dashboard System” or, alternatively, “Authorizing Evolve to Close all of the Debtor’s Demand

17   Deposit Accounts at Evolve Associated with Debtor’s Programs”. [Dkt. No. 137.] Evolve alleged

18   that it had been denied access to the Debtor’s computer systems and had been forced to freeze end

19   user accounts. Id.

20          On May 13, 2024, the Court conducted a status conference on the sale and a hearing on

21   Evolve’s motion. Although extensive arguments were made by counsel and their clients assessing

22   relative blame, it was undisputed that end users had lost access to funds.

23          On May 15, 2024, the United States Trustee for the Central District of California (the “U.S.

24   Trustee”) filed a motion on an emergency basis requesting that the Court enter an order converting

25   the Chapter 11 Case to chapter 7 for cause, or, in the alternative, for the appointment of a chapter

26   11 trustee. [Dkt. No. 146.]

27          On May 24, 2024 (the “Appointment Date”), following a hearing, the Court entered an

28   order appointing a chapter 11 trustee, and Jelena McWilliams was appointed by the U.S. Trustee
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 1   as the Trustee in this Chapter 11 Case (the “Case”). [Dkt. No. 196.]

 2          Since the Appointment Date, the Trustee and her advisors have focused their efforts on

 3   facilitating data sharing with Debtor’s Partner Financial Institutions to enable them to reconcile

 4   ledgers and distribute funds to end users of Debtor’s platform. The Trustee has received inbound

 5   inquiries to purchase assets of the Debtor’s estate. However, the Trustee and her advisors

 6   determined that it would be unduly burdensome and risky to effectuate a sale and transfer control

 7   of key Synapse systems while reconciliation efforts were ongoing. In addition, the Trustee and

 8   her advisors, after many weeks of concerted effort and communications with representatives of
 9   major platform vendors required to gain access to secure, key Synapse system components, are
10   now able to provide access to system components to facilitate Potential Bidders’ due diligence of
11   the Synapse platform. With an end to the reconciliation process in sight and access to the key
12   Synapse system components, the Trustee is seeking to formalize a sale process to receive the
13   highest and best bid for some, all or substantially all assets of the Debtor’s estate.
14          Notwithstanding the near-term completion of reconciliation work by Partner Financial
15   Institutions, due to the likely need for Synapse’s Partner Financial Institutions, in order for fintech
16   customers and end users to continue to access information and systems currently owned by
17   Synapse, and the substantial administrative claims of trade vendors key to that process, the Trustee
18   believes it is in the best interest of the estate and its stakeholders to place value on bids submitted

19   in connection with the process that commits to assuming claims of vendors who are essential to

20   keeping Synapse’s dashboard access alive, commits to providing information to Synapse’s Partner

21   Financial Institutions and fintech customers for a reasonable period after closing of a sale to

22   facilitate distributions to end users and fintech customers by Partner Financial Institutions and

23   completes remaining reconciliation work, in accordance with applicable law.

24          The Debtor’s assets are subject to substantial secured debt, and it is unclear at this time if

25   bids will be received in excess of the value of such liens. To that end, the Trustee expects that any

26   sale of the Debtor’s assets will be subject to the consent of the Debtor’s secured creditors and

27   agreement by the secured creditors to an appropriate carve out from their collateral or proceeds of

28   that collateral so that the Debtor’s estate may benefit from a sale process.
                                                       3
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 1          After extensive consultation with the Trustee’s financial advisor GlassRatner Advisory &

 2   Capital Group, LLC d/b/a B. Riley Advisory Services (“B. Riley”), and after taking into account

 3   the Debtor’s financial situation and need for an expedited but fulsome sale process, the Trustee

 4   established, subject to the approval of the Bankruptcy Court and the consent of the Debtor’s

 5   secured creditors, the following proposed timetable in order to achieve the highest and best price

 6   for the Debtor’s Purchased Assets:

 7          October 11, 2024 at 4:00 p.m. (prevailing Pacific time) – Bidding Procedures and Sale

 8   Objection Deadline – This is the proposed deadline for parties in interest to file any objections to
 9   this Motion and the Bidding Procedures Motion.
10          October 15, 2024 at 1:30 p.m. (prevailing Pacific time) – Bidding Procedures
11   Hearing – This is the proposed date of the hearing at which the Court will hear any objections to
12   the Trustee’s Bidding Procedure’s Motion and the Trustee will seek entry of an order approving
13   the Bidding Procedures.
14          October 16, 2024 at 4:00 p.m. (prevailing Pacific time) – File and Serve Notice of
15   Bidding Procedures and Sale Deadline – One business day after entry of the Bidding Procedures
16   Order or as soon as reasonably practicable thereafter, the Trustee will file, serve on all creditors,
17   equity interest holders and contract counterparties and publish that certain Notice of Court-
18   Approved Bidding Procedures, Opportunity To Bid On Assets and Auction Schedule.

19          October 25, 2024 at 4:00 p.m. (prevailing Pacific time) – Initial Indication of Interest

20   Deadline – This is the deadline for all parties who wish to be eligible to participate in the Auction

21   to provide a non-binding expression of interest by delivering to the Trustee all of the following

22   documents: (1) an executed non-disclosure agreement with the form to be obtained from the

23   Trustee and (2) a non-binding written expression of interest in which the Potential Bidder identifies

24   (a) which of the Debtor’s assets the Potential Bidder is interested in acquiring; (b) evidence

25   satisfactory to the Trustee of available funds or financing sufficient to consummate the proposed

26   sale with appropriate contact information for verifying such financing sources; (c) a preliminary

27   expected purchase price or range; (d) the expected business structure of the prospective buyer and

28   the identities of all participants in the Potential Bidder; (e) a specific description of remaining due
                                                       4
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 1   diligence with outstanding questions and requests for information; (f) the identity of any retained

 2   counsel and/or financial advisor; and (g) what formal approvals (such as shareholder, board of

 3   director, etc.) are still needed for the Potential Bidder to be able to submit a binding bid and

 4   consummate a sale transaction.

 5          November 1, 2024 at 4:00 p.m. (prevailing Pacific time) – Initial Bid Deadline – This

 6   is the deadline by when initial bids must be submitted by parties who wish to participate in the

 7   Auction. In order to be deemed a Qualified Bidder eligible to participate in the Auction, all

 8   Potential Bidders must comply with the bid requirements set forth in paragraph 9 of the Bidding
 9   Procedures and do all of the following:
10      1. Submit definitive documentation to acquire all or a part of the Purchased Assets;
11      2. Submit all documents to enable B. Riley to determine whether the Potential Bidder is
12         financially qualified to participate in the Auction; and

13      3. Submit a deposit equal to 10% of the purchase price, which shall be non-refundable if the
           bidder is deemed to be the Winning Bidder at the Auction and the Trustee’s proposed
14         free and clear sale of the Purchased Assets to the bidder is approved by the Bankruptcy
           Court. Bidders will have the right to withdraw their bid at any time up until Noon
15         (prevailing Pacific time) on November 14, 2024, in which case they will receive a return
16         of their deposit and no longer be eligible to participate in the Auction.

17
            November 5, 2024 at 4:00 p.m. (prevailing Pacific time) – File and Serve Cure Notice
18
     Deadline – This is the deadline for the Trustee to file with the Court and serve on relevant contract
19
     counterparties the Assumption/Assignment Notice setting forth the schedule of contracts and
20
     leases proposed to be assumed and assigned by the Qualified Bidders, along with Cure Amounts.
21
     As substantially all executory contracts were rejected by the Debtor on May 9, 2024 [Dkt. No.
22
     195], the Trustee does not currently anticipate filing an Assumption/Assignment Notice but
23
     reserves the right to do so if appropriate.
24
            November 15, 2024 commencing at 10:00 a.m. (prevailing Pacific time) – Auction –
25
     Auction to be held via videoconference with all Qualified Bidders to be provided with particulars
26
     in advance of the Auction. In the event that bids received by the Trustee indicate that distinct assets
27
     of the Debtor’s estate should be sold pursuant to separate Auctions, more than one Auction may
28
                                                       5
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 1   be held for those distinct assets.

 2           November 18, 2024 at 4:00 p.m. (prevailing Pacific time) – Cure Notice Objection

 3   Deadline – This is the deadline for parties-in-interest to file any objections to the Trustee’s

 4   Assumption/Assignment Notice setting forth the Contracts and Leases Schedule, along with the

 5   Cure Amount.

 6           November 20, 2024 at 10 a.m. (prevailing Pacific time) – Sale Hearing – This is the

 7   hearing for the Court to consider approval of the Trustee’s proposed sale of the Purchased Assets

 8   to the Winning Bidder or Bidders at the Auction and at which the Trustee will seek entry of an
 9   order approving this Motion.
10           November 27, 2024 – Sale Closing Deadline – This is the outside date by when the
11   Winning Bidder at the Auction is required to close its purchase of the Purchased Assets unless the
12   Winning Bidder and the Trustee jointly agree to extend the outside closing date.
13           The Bidding Procedures are designed to ensure that the highest price possible is paid for
14   the Purchased Assets by a purchaser who has the financial ability to close on a purchase of the
15   Purchased Assets. This is being done by providing all prospective buyers with a level playing field
16   with no bidder having any financial advantage over any other bidder.
17           For all of the reasons set forth herein and in the accompanying Memorandum of Points and
18   Authorities and concurrently filed Declaration of Jelena McWilliams, the Trustee has concluded

19   that consummating a sale of the Purchased Assets for the highest and best price possible is in the

20   best interests of the Debtor’s estate.

21           The Debtor’s primary assets the Trustee is seeking to sell are the Synapse technology

22   platform and related proprietary technology. In the event that bids are received for other assets of

23   the Debtor’s estate, such as the equity interests of subsidiaries, and other intellectual property

24   assets, such assets may be sold pursuant to these bidding procedures as well.

25           Since her appointment, the Trustee has received inbound interest for the Debtor’s assets.

26   The Trustee has responded to this inbound interest, but has not sought to effectuate a sale until this

27   point to avoid interrupting the reconciliation process underway with the Partner Financial

28   Institutions. With the completion of the reconciliation process in sight, the Trustee now seeks
                                                       6
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 1   approval to sell select assets of the Debtor’s estate in accordance with the process set forth in the

 2   Bidding Procedures Order. Accordingly, the Trustee respectfully requests that the Court hold

 3   a hearing on this Motion on October 15, 2024 or as soon as reasonably possible.

 4          WHEREFORE, the Trustee respectfully requests that this Court:

 5          1.      Enter an order substantially in the form of the Bidding Procedures Order attached

 6   hereto as Exhibit A:

 7                  a. Approving the auction sale format and Bidding Procedures in the form attached

 8                      to the Proposed Bidding Procedures Order;
 9                  b. Approving the Trustee’s proposed form of auction and sale hearing notice to be

10                      provided to creditors, Potential Bidders and other parties-in-interest in the form

11                      attached hereto as Exhibit B; and

12                  c. Approving the Trustee’s proposed form of notice and procedures regarding the

13                      assumption and assignment of executory contracts and unexpired leases,

14                      establishment of cure amounts, and objections in the form attached hereto as

15                      Exhibit C;

16          2.      Schedule a Court hearing to consider approval of the sale of the Purchased Assets

17   to the Winning Bidder or Winning Back-Up Bidder pursuant to the terms and conditions of the

18   Asset Purchase Agreement with the Winning Bidder or the Asset Purchase Agreement with the

19   Winning Back-Up Bidder, as the case may be, and the Bidding Procedures; and

20          3.      Grant such other and further relief as the Court deems just and proper.

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      Dated: October 7, 2024                  CRAVATH, SWAINE & MOORE LLP
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15                                                  Counsel for Jelena McWilliams,
                                                    in her capacity as Chapter 11 Trustee for
16                                                  Synapse Financial Technologies, Inc.

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                            MEMORANDUM OF POINTS AND AUTHORITIES
 1
                       I.       STATEMENT OF JURISDICTION AND VENUE
 2
            This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This
 3
     matter relates to the administration of the Debtor’s bankruptcy estate and is accordingly a core
 4
     proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (M) and (O). Venue of this case is proper in this
 5
     Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief requested in
 6
     this Bidding Procedures Motion are (i) Sections 105(a), 363(b), (f) and (m), 365(b) and (f) of Title
 7
     11 of the United States Code (the “Bankruptcy Code”), (ii) Rules 2002(a)(2), 6004 (a), (b), (c),
 8
     (e), (f) and (h), and 6006(a) and (c) of the Federal Rules of Bankruptcy Procedure and (iii) Local
 9
     Bankruptcy Rules 6004-1 and 9013-1
10
                                   II.     STATEMENT OF FACTS 1
11
     A.     The Debtor’s Background and Chapter 11 Filing.
12
            The Debtor has proprietary technology and software which essentially allows financial
13
     technology platforms called “fintechs” to provide certain financial products and services to the
14
     fintechs’ customers (referred to as end users) through certain banking and financial service
15
     providers.
16
            The Debtor wholly owns two (2) subsidiaries: (i) Synapse Credit LLC (“S Credit”) and
17
     (ii) Synapse Brokerage LLC (“S Brokerage”). S Brokerage is a registered broker-dealer and a
18
     member of FINRA (Financial Industry Regulatory Authority) and SIPC (Securities Investor
19
     Protection Corporation).
20
            The Debtor filed a voluntary petition under Chapter 11 of 11 U.S.C. §§ 101 et seq. (the
21
     “Bankruptcy Code”) on April 22, 2024 (the “Petition Date”) with the goal of selling substantially
22
     all of its assets (the “Purchased Assets”) to the highest and best bidder. That same day, the Debtor
23
     filed an emergency motion for an order approving the sale of all its assets for $9.7 million to
24
     TabaPay Holdings LLC. On May 9, 2024, the Debtor reported that it failed to reach a settlement
25

26   1
      To avoid repetition, the Trustee incorporates herein by this reference the Declaration of Sankaet
     Pathak In Support Of Debtor’s First Day Motions [Dkt. No. 12] and the Declaration of Jelena
27
     McWilliams in Support of the Chapter 11 Trustee’s Sale Motion in support of the facts set forth
28   herein.

                                                      9
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 1   with its current banking partner, known as Evolve Bank & Trust (“Evolve”). The buyer reported

 2   that it was unwilling to proceed with the sale without the Evolve settlement and the bidding

 3   procedures and sale process was halted.

 4           On May 24, 2024, following a hearing, the Court entered an order appointing a chapter 11

 5   trustee (the “Appointment Order”), and Jelena McWilliams was appointed by the U.S. Trustee as

 6   the Chapter 11 Trustee in this Chapter 11 Case (the “Case”).

 7           The Debtor’s primary assets that the Trustee is seeking to sell are its proprietary

 8   technology platform and equity interests in its subsidiaries. To date, different prospective
 9   purchasers who have discussed a potential transaction with the Trustee and her advisors have
10   indicated that they are interested in acquiring a subset of the Debtor’s assets rather than
11   substantially all its assets. To that end, the Trustee may seek to sell distinct Synapse assets to
12   separate bidders if she concludes that that will provide the highest value to the Estate.
13   B.      The Asset Sale Process.

14           Since the Appointment Date, the Trustee and her advisors have focused their efforts on

15   facilitating data sharing with its Partner Financial Institutions to enable them to reconcile ledgers

16   and distribute funds to end users of Synapse’s platform. The Trustee has received inbound inquiries

17   to purchase assets of the Debtor’s estate. However, the Trustee and her advisors determined that it

18   would be unduly burdensome and risky to effectuate a sale and transfer control of key Synapse

19   systems while reconciliation efforts were ongoing. With an end to the reconciliation process in

20   sight, the Trustee is seeking to formalize a sale process to receive the highest and best bid for some

21   or all assets of the Debtor’s estate.

22           Notwithstanding the near-term completion of reconciliation work by Partner Financial

23   Institutions, due to the likely need for Synapse’s Partner Financial Institutions, in order for fintech

24   customers and end users to continue to access information and systems currently owned by

25   Synapse, and the substantial administrative claims of trade vendors key to that process, the Trustee

26   believes it may be in the best interest of the estate and its stakeholders to place value on bids

27   submitted in connection with the process to those who will commit to assuming claims of vendors

28   that are essential to keeping Synapse’s dashboard access alive, commit to providing information
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 1   to Synapse’s Partner Financial Institutions and fintech customers for a reasonable period to

 2   facilitate distributions to end users and fintech customers by Partner Financial Institutions, and

 3   complete remaining reconciliation work, in accordance with applicable law.

 4          After extensive consultation with B. Riley, and after taking into account the Debtor’s

 5   financial situation, the Trustee established, subject to the approval of the Bankruptcy Court and

 6   the consent of the Debtor’s secured creditors, the following procedures and timetable in order to

 7   achieve the highest and best price for the Debtor’s Purchased Assets.

 8                        III.    THE PROPOSED BIDDING PROCEDURES
 9          The proposed Bidding Procedures that the Trustee is requesting the Court to approve are

10   as follows:

11                          Due Diligence Access/Participation Requirements

12          To participate in the Auction process as a bidder, a person or entity interested in purchasing

13   the Purchased Assets (a “Potential Bidder”) must deliver to the Trustee all of the following

14   documents (the “Participation Requirements”): (1) an executed non-disclosure agreement with the

15   form to be obtained from the Trustee and (2) a non-binding written expression of interest in which

16   the Potential Bidder identifies (a) which of the Debtor’s assets the Potential Bidder is interested in

17   acquiring; (b) evidence satisfactory to the Trustee of available funds or financing sufficient to

18   consummate the proposed sale with appropriate contact information for such financing sources;

19   (c) a preliminary expected purchase price or range; (d) the expected business structure of the

20   prospective buyer and the identities of all participants in the Potential Bidder; (e) a specific

21   description of remaining due diligence with outstanding questions and requests for information;

22   (f) the identity of any retained counsel and/or financial advisor; and (g) what formal approvals

23   (such as shareholder, board of director, etc.) are still needed for the Potential Bidder to be able to

24   submit a binding bid and consummate a sale transaction.

25          Any Potential Bidder who has satisfied the foregoing Participation Requirements will be

26   afforded, subject to the other provisions of these Bidding Procedures, due diligence access and

27   additional information through the Trustee and her advisors. Potential Bidders may submit

28   questions in writing during the due diligence process to the Trustee. Additionally, upon reasonable
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 1   advance notice, a Potential Bidder may have such direct communication with the Trustee and her

 2   advisors as the Potential Bidder desires and the Trustee determines to be appropriate under the

 3   circumstances.

 4                                Bid Deadline for Prospective Bidders

 5          The deadline for all Potential Bidders to submit their initial bid for the Purchased Assets is

 6   proposed to be November 1, 2024, at 4:00 p.m. (prevailing Pacific time) (the “Initial Bid

 7   Deadline”). A bid received after the Initial Bid Deadline shall not be considered unless the Trustee,

 8   in her business judgment, consents. The Trustee shall have the right to extend the Initial Bid
 9   Deadline if she determines in her business judgment that an extension would be in the best interests
10   of the Debtor’s estate.
11                                           Bid Requirements

12          The Trustee proposes that to be eligible to participate in the Auction, each bid and each

13   Potential Bidder submitting a bid (each, a “Bidder”) must be determined by the Trustee to have

14   satisfied a number of conditions as specifically set forth in the Bidding Procedures, including,

15   without limitation, all of the conditions listed below (collectively, the “Bid Requirements”):

16          Terms. A bid must be accompanied by an executed asset purchase agreement (“Asset

17          Purchase Agreement”), including binding, executed transaction documents and signed by

18          an authorized representative of the Bidder.

19          Irrevocable. A bid must state that such offer is binding and irrevocable until the conclusion

20          of the Sale Hearing (defined below) and such bid must continue to remain binding and

21          irrevocable through the sale closing if the bid or any other higher bid submitted at the

22          Auction is accepted by the Trustee at the Auction as the Winning Bid (defined below) or

23          the Winning Back-Up Bid (defined below), and approved by the Bankruptcy Court at the

24          Sale Hearing.

25          Identity of Bidder. A bid must fully disclose the following information (collectively,

26          “Identifying Information”): (A) each entity or person that will be bidding for or purchasing

27          the Purchased Assets; (B) all material equity holders (i.e., parties that own at least 10% of

28          the equity of the Bidder) in the case of a Bidder that is an entity; (C) any entity that will be
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 1         financing or otherwise participating in connection with such bid and the complete terms of

 2         any such financing or participation, including any agreements, arrangements or

 3         understandings concerning a collaborative or joint bid or any other combination concerning

 4         the proposed bid; (D) any connection with or participation by any “insider” (as defined in

 5         section 101(31) of the Bankruptcy Code) of the Debtor or any relative or any affiliate of

 6         any “insider” of the Debtor; and (E) any connection with or participation by any current

 7         creditor or equity holder of the Debtor. A bid must also fully disclose any provisions in

 8         such bid for any internal, regulatory or other third-party approvals that may be required for
 9         a change in control of such subsidiary or subsidiaries (collectively, “Third-Party
10         Approvals”).

11         Contact Information. A bid must include the names and contact information (including

12         phone numbers and email addresses) of all authorized representatives of the Bidder who

13         will be available to answer questions regarding the bid, including advisors and related

14         parties.

15         Deposit. A bid must include a good faith deposit by bank wire equal to 10% of the purchase

16         price (the “Deposit”). If a Bidder elects to increase the amount of its bid at the Auction, the

17         Bidder will not be required to increase the amount of its Deposit. If a bid is determined to

18         be the Winning Bid at the Auction and the Bidder who submitted such bid fails to timely

19         close the sale after approval by the Bankruptcy Court at the Sale Hearing, the Deposit shall

20         become non-refundable and be forfeited to the Debtor’s estate. All Deposits of all Qualified

21         Bidders shall be held in an account maintained by Cravath and shall be returned (other than

22         with respect to the Winning Bidder and the Winning Back-Up Bidder) promptly after the

23         conclusion of the Auction, subject to the return conditions set forth in the applicable Asset

24         Purchase Agreements submitted with such bids.

25         Financing Sources. A bid must contain written evidence of available funds or a firm

26         irrevocable commitment for financing sufficient to consummate the proposed sale with

27         appropriate contact information for such financing sources, with the Trustee to determine

28         whether such evidence of financing satisfies these Bidding Procedures and enables the
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 1          Bidder to participate in the Auction, with such determination to be in the Trustee’s sole

 2          and absolute discretion.

 3          Designation of Assigned Contracts and Leases. Subject to the ability of the Trustee to

 4          obtain an order of the Bankruptcy Court approving the Trustee’s assumption and

 5          assignment of any executory contract or unexpired lease to the Winning Bidder, a bid must

 6          include an initial list of all of the Debtor’s executory contracts and unexpired leases with

 7          respect to which the Bidder seeks assumption and assignment from the Debtor (including

 8          without limitation any of the Debtor’s contracts or leases to which the Debtor’s non-debtor
 9          subsidiaries are also parties). As substantially all executory contracts of the Debtor have
10          been rejected, the Trustee anticipates that any assignment of non-terminated contracts may
11          require consent of the applicable contract counter-party.
12          Designation of Assumed Liabilities. A bid must identify all liabilities that the Bidder
13          proposes to assume.
14          No Breakup Fee. A bid must not request or entitle the Bidder to receive any termination
15          fee, transaction or breakup fee, expense reimbursement or similar fee or payment. For the
16          avoidance of doubt, by submitting a bid, the Bidder agrees that it shall not be entitled to
17          any such fee and waives the right to pursue a substantial contribution claim under 11 U.S.C.
18          § 503 related in any way to the submission of its bid or its participation in the Auction.

19                                      Qualified Bidders and Bids

20          The Trustee proposes that Potential Bidders who have satisfied the Participation

21   Requirements and Bid Requirements will be deemed “Qualified Bidders”, and bids that meet all

22   of the Bid Requirements described above will be deemed “Qualified Bids”, in each case, only if

23   the Trustee concludes in the exercise of her business judgment, that such bid would be

24   consummated if selected as the Winning Bid; provided, however, that, for the avoidance of doubt,

25   if any Qualified Bidder fails to comply with reasonable requests for additional information and

26   due diligence access from the Trustee to her satisfaction, the Trustee shall have the right, in her

27   sole and absolute discretion, to disqualify any Qualified Bidder and Qualified Bid, and such Bidder

28   shall not be entitled to attend or otherwise participate in the Auction.
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 1                                         Notice of Qualified Bids

 2            As soon as practicable following the Bid Deadline, the Trustee shall identify to all

 3   Qualified Bidders: (a) each and every bid that the Trustee considers to be a Qualified Bid and

 4   (b) if more than one Qualified Bid has been timely received, the Qualified Bid that will constitute

 5   the “Initial Bid” at the Auction, and the bidding order in which the Auction will be conducted.

 6                                 No Auction if Only One Qualified Bid

 7            If, by the Bid Deadline, only one timely Qualified Bid is received by the Trustee, the

 8   Trustee shall not conduct an Auction and the sole Qualified Bidder will be deemed the “Winning
 9   Bidder” and its bid the “Winning Bid”. If this occurs, the Trustee shall proceed to request at the

10   Sale Hearing that the Court approve the transfer and sale of the Purchased Assets to the Winning

11   Bidder in accordance with the Winning Bidder’s Asset Purchase Agreement and request that the

12   Sale Order be entered by the Court and that the Sale Order shall be made immediately effective

13   upon entry, notwithstanding the provisions of Rule 6004(h) and 6006(d) of the Federal Bankruptcy

14   Rules.

15                                                  Auction

16            If by the Bid Deadline, more than one Qualified Bid has been received by the Trustee, the

17   Trustee will conduct the Auction with all Qualified Bidders. If Qualified Bids have been received

18   for multiple non-overlapping sets of the Debtor’s assets, Auctions for each set of Purchased Assets

19   may be conducted.

20               Consent to Jurisdiction, No Collusion and Good Faith Bona Fide Offer

21            All Qualified Bidders shall be deemed to have consented to the exclusive and core

22   jurisdiction of the Court and to have waived any right to jury trial in connection with any disputes

23   relating to the bidding process, the Auction, the transfer and sale of the Purchased Assets and any

24   other matter relating to, or contemplated by, the Winning Bidder’s Asset Purchase Agreement.

25   Any and all disputes related to the Auction shall be determined solely by the Bankruptcy Court.

26   Each Qualified Bidder participating in the Auction will be required to confirm on the record at the

27   Auction that: (i) it has not engaged in any collusion with respect to the bidding or with any other

28   bidder or Potential Bidder; (ii) its bid is a good faith bona fide offer; (iii) it intends to consummate
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 1   the proposed transaction if selected as the Winning Bidder; and (iv) it acknowledges that, if chosen,

 2   it will serve as the “Winning Back-Up Bidder”.

 3                                        Initial Bid at the Auction

 4          The bidding at the Auction shall commence at the amount of the highest or otherwise best

 5   Qualified Bid submitted by the Bid Deadline, as determined by the Trustee. Each subsequent bid

 6   shall be in increments of no less than $10,000 and by figures which are wholly divisible by

 7   $10,000. Bid increments may be increased to a value not to exceed 5% of the Purchase Price set

 8   forth in the Initial Bid in the sole discretion of the Trustee. The Trustee will notify all Qualified
 9   Bidders in advance of the Auction which bid has been accepted as the Initial Bid at the Auction
10   and the order in which the bidding at the Auction will proceed.
11                                         Conducting the Auction

12          The Trustee, Cravath and B. Riley will direct and preside over the Auction. At the start of

13   the Auction, and after each Qualified Bidder acknowledges on the record (i) that it has not engaged

14   in any collusion with respect to the bidding, (ii) that its bid is a good faith bona fide offer and

15   (iii) that it intends to consummate the proposed transaction if selected as the Winning Bidder or

16   the Winning Back-Up Bidder, the Trustee will identify, confirm and describe the Initial Bid. The

17   bidding will then ensue in the bidding order provided by the Trustee to all Qualified Bidders in

18   advance of the Auction. All bidding after the Initial Bid shall continue in bidding increments of at

19   least $10,000 and by figures that are wholly divisible by $10,000. Bid increments may be increased

20   to a value not to exceed 5% of the Purchase Price set forth in the Initial Bid in the sole discretion

21   of the Trustee. All bids will be made and received via Zoom, Webex or similar virtual means of

22   all parties, on an open basis, and all Qualified Bidders will be entitled to be present for all bidding

23   with the understanding that the Identifying Information of each bidder and the material terms of

24   each Qualified Bid (including any Third-Party Approvals) will be fully disclosed to all Qualified

25   Bidders before the Auction, and all successive bids made at the Auction will be fully disclosed to

26   all Qualified Bidders. All Qualified Bidders will be permitted to bid at the Auction based on what

27   the Trustee, subject to the Court’s approval at the Sale Hearing, determines to be an appropriate

28   amount of time to respond to each prior submitted bid.
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 1          Prior to the Auction, the Trustee will randomly assign to each Qualified Bidder a bidder

 2   number, except that the bidder whose bid was accepted as the Initial Bid will be assigned bidder

 3   number 1. Once the Initial Bid has been described by the Trustee, the bidding will then pass to

 4   bidder number 2. Bidder number 2 will have the option of submitting an overbid to the Initial Bid

 5   of at least the sum of (A) the Initial Bid plus (B) $10,000, or dropping out of the Auction. Once a

 6   bidder drops out of the Auction, such bidder will no longer be permitted to participate in the

 7   Auction. After bidder number 2 either submits a qualifying overbid or drops out of the Auction,

 8   the bidding will then pass to bidder number 3. This process will continue until only two Qualified
 9   Bidders are left, in which case the Qualified Bidder who submits the highest and best Qualified
10   Bid will be deemed the Winning Bidder at the Auction, and the Qualified Bidder who submits the
11   second highest and best Qualified Bid will be deemed the Winning Back-Up Bidder at the Auction.
12          Except as expressly provided in the Bidding Procedures Order or the provisions of these
13   Bidding Procedures, the Trustee shall have the right to conduct the Auction in the manner she
14   reasonably determines, in the exercise of her business judgment, to be in the best interests of the
15   Debtor’s bankruptcy estate. The Trustee shall also have the right to deviate from these Bidding
16   Procedures or announce and employ at the Auction other procedural rules without the need for any
17   further order of the Bankruptcy Court if the Trustee reasonably determines, in the exercise of her
18   business judgment, that doing so would be in the best interests of the Debtor’s bankruptcy estate

19   and is not inconsistent with any of the provisions of the Bankruptcy Code or any previously entered

20   order of the Bankruptcy Court including the Bidding Procedures Order.

21          The Trustee may (1) determine which Qualified Bid, if any, is the highest, best and

22   otherwise financially superior offer in terms of both amount and execution risk and (2) reject at

23   any time any bid that is (i) inadequate or insufficient, (ii) not in conformity with the requirements

24   of the Bankruptcy Code or these Bidding Procedures or (iii) contrary to the best interests of the

25   Debtor or its bankruptcy estate; provided that, the highest, best and otherwise financially superior

26   offer shall be the Qualified Bid at the Auction reasonably expected to result (including after taking

27   into account execution risk) in the highest amount of money being paid to the Debtor’s estate for

28   the purchase of the Purchased Assets.
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 1                      Selection of the Winning Bid and Winning Back-Up Bid

 2          The Auction shall continue until there is one Qualified Bid that the Trustee determines,

 3   subject to Bankruptcy Court approval, to be the highest and best bid (the “Winning Bid”), and

 4   another Qualified Bid to be the second highest and best bid (the “Winning Back-Up Bid”), at which

 5   point the Auction will be deemed concluded. The Trustee will not consider any bids submitted

 6   after the conclusion of the Auction.

 7          Subject to the Bankruptcy Court approving the Winning Bid and entering an order

 8   approving of the Trustee’s free and clear sale of the Purchased Assets to the Winning Bidder in
 9   accordance with the Winning Bidder’s Asset Purchase Agreement, submitted by the Winning
10   Bidder (the “Sale Order”), the Winning Bidder shall be required to close the sale within seven (7)
11   days (unless the Trustee and the Winning Bidder jointly agree to an extension of this outside Sale

12   closing date which will be in their sole and absolute discretion), or the Winning Bidder will be

13   deemed to have forfeited its Deposit to the Debtor subject to the terms and conditions for such

14   forfeiture set forth in such Asset Purchase Agreement, as applicable. Promptly following the

15   closing of the sale to the Winning Bidder, the Trustee shall return the Deposit of the Winning

16   Back-Up Bidder to the Winning Back-Up Bidder.

17          If the Winning Bidder fails to close the sale of all of the Purchased Assets by the outside

18   closing date for such initial closing (as set forth in the Winning Bidder’s Asset Purchase

19   Agreement, as applicable), unless the Trustee and the Winning Bidder mutually agree in their sole

20   and absolute discretion to extend such closing date, the Trustee shall so notify the Winning Back-

21   Up Bidder. The Winning Back-Up Bidder will then have seven (7) days following the date of

22   having been notified by the Trustee to close the purchase of such assets. If the Winning Back-Up

23   Bidder fails to close the sale within this time period, unless the Trustee and the Winning Back-Up

24   Bidder mutually agree in their sole and absolute discretion to extend such initial closing date, the

25   Winning Back-Up Bidder will be deemed to have forfeited its Deposit to the Debtor subject to any

26   conditions for such forfeiture in the applicable Asset Purchase Agreement.

27                                             Sale Hearing

28          The Trustee proposes that the hearing for the Bankruptcy Court to approve the outcome of
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 1   the Auction and the Trustee’s sale of the Purchased Assets to the Winning Bidder and to the

 2   Winning Back-Up Bidder if the Winning Bidder fails to close (the “Sale Hearing”) be held on

 3   November 20, 2024, or at such other date and time set by the Bankruptcy Court.

 4            IV.     THE PROPOSED SALE NOTICE AND ASSIGNMENT NOTICE

 5          Attached hereto as Exhibit B is the Trustee’s proposed form of notice to creditors of the

 6   Debtor and its non-debtor subsidiaries and other parties-in-interest (“Proposed Sale Notice”), and

 7   attached hereto as Exhibit C is the Trustee’s proposed form of notice to non-debtor counterparties

 8   (including non-debtor subsidiaries if applicable) under executory contracts and unexpired leases
 9   regarding the possible assumption and assignment thereof (“Proposed Assignment Notice”).
10   A.     The Proposed Sale Notice.

11          Within one (1) business day after the Court’s entry of the Bidding Procedures Order, the

12   Trustee will make every effort to file with the Court and serve the Proposed Sale Notice upon all

13   known creditors and equity holders of the Debtor and its non-debtor subsidiaries and upon all

14   Potential Bidders following Court approval of the Bidding Procedures.

15          The Trustee submits that the notice, and service thereof, will satisfy the requirements of

16   Rule 2002 of the Federal Rules of Bankruptcy Procedure, and that such notice will constitute

17   proper, timely, adequate and sufficient notice of the Sale, the Bidding Procedures (including any

18   Bid Deadline), the Auction, the Sale Hearing, and the deadline to object to any sale. Accordingly,

19   the Trustee requests that the Proposed Sale Notice, substantially in the form attached hereto as

20   Exhibit B be approved by the Court.

21   B.     The Proposed Assignment Notice.

22          If deemed appropriate, within one (1) business days after the Selection of the Winning

23   Bidder, the Trustee will make every effort to file with the Court and serve the Proposed

24   Assumption/Assignment Notice attached as hereto as Exhibit C on each counterparty (including

25   non-debtor subsidiaries if applicable) to an executory contract or unexpired lease (a

26   “Counterparty”) intended to be assumed and assigned to the Winning bidder and/or the Winning

27   Back-Up Bidder, which notice shall: (i) state the cure amounts, if any, that the Trustee believes

28   are necessary to assume such contracts or leases pursuant to Bankruptcy Code section 365 (the
                                                    19
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 1   “Cure Amount”); (ii) notify the non-debtor Counterparty or Counterparties that such party’s or

 2   parties’ contract or lease may be assumed and assigned to the Winning Bidder; (iii) state the date

 3   of the Sale Hearing and that objections to any Cure Amount or to assumption and assignment will

 4   be heard at the Sale Hearing, or at a later hearing, as determined by the Court; and (iv) state the

 5   deadline by which any non-debtor Counterparty shall file an objection to the Cure Amount(s) or

 6   to the assumption and assignment of the applicable contract(s) and/or lease(s).

 7          The Debtor rejected substantially all contracts it was party to pursuant to the Order

 8   Granting Debtor’s First Omnibus Motion for Entry of an Order Authorizing Rejection of
 9   Executory Contracts and Unexpired Leases dated May 9, 2024. [Dkt. No. 195.] In the event any
10   contracts that have been rejected, but not terminated, are to be assigned to the Purchaser in
11   connection with a Sale, the Trustee shall obtain the consent of applicable contract or otherwise
12   comply with applicable bankruptcy and non-bankruptcy law to effectuate the assignment of the
13   contract to the Purchaser. As substantially all executory contracts of the Debtor have been rejected,
14   the Trustee does not anticipate filing an Assumption/Assignment Notice but seeks approval to file
15   such notice out of an abundance of caution.
16          The Trustee proposes that objections to any matter pertaining to the assumption and

17   assignment of executory contracts or unexpired leases by the Winning Bidder, including without

18   limitation as to adequate assurance of future performance or payment of applicable Cure Amounts,

19   be filed with the Court up until the Sale Hearing (the “Objection Deadline”). Any such objections

20   must be served so as to be actually received no later than Objection Deadline.

21          The Trustee proposes that to the extent that any Counterparty or other party in interest does

22   not timely serve an objection to the Assumption/Assignment Notice as set forth above, such party

23   shall be deemed to have (i) consented to the assumption and assignment of the applicable contracts

24   or leases to the Winning Bidder; (ii) agreed that the Winning Bidder has provided adequate

25   assurance of future performance within the meaning of sections 365(b) and (f) of the Bankruptcy

26   Code; (iii) consented to the applicable Cure Amount; (iv) agreed to the terms of the Sale Order;

27   and (v) waived any and all objections in connection with items (i) through (iv) hereof.

28          Upon the filing of an objection by a Counterparty or other party-in-interest to the
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 1   Assumption/Assignment Notice, the Trustee will contact the objecting party and the Winning

 2   Bidder to attempt to consensually resolve any timely filed objection. The Trustee will work with

 3   the Winning Bidder in good faith in this regard, and the Winning Bidder must consent to any

 4   increase in the proposed Cure Amount for the applicable contract or lease. If the Trustee and

 5   Winning Bidder are unable to resolve such an objection, such objection will be heard at the Sale

 6   Hearing (as may be adjourned by the Court without such objecting party’s consent); provided,

 7   further, that in the event an objection relates solely to a Cure Amount (a “Cure Objection”), then

 8   such objecting party will be deemed to consent to the assumption and assignment of its contract
 9   or lease, notwithstanding such objection. In the event the Trustee and the Winning Bidder are
10   unable to resolve a Cure Objection prior to the Sale Hearing, the Winning Bidder may elect not to
11   include the applicable contract or lease in its purchase of the Purchased Assets, subject to any
12   conditions set forth in the Winning Bidder’s Asset Purchase Agreement.
13                                        V.      DISCUSSION

14   A.     The Court Should Approve the Bidding Procedures.

15          Local Bankruptcy Rule 6004-1 provides, in pertinent part, as follows:

16                  (b) Motion for Order Establishing Procedures for the Sale of Estate
                    Property.
17
                    ...
18                          (2)    Contents of Notice [of a Sale Procedure Motion]. The
                    notice must describe the proposed bidding procedures and include a
19                  copy of the proposed purchase agreement. If the purchase agreement is
                    not available, the moving party must describe the terms of the sale
20                  proposed, when a copy of the actual agreement will be filed with the
21                  court, and from whom it may be obtained. The notice must describe the
                    marketing efforts undertaken and the anticipated marketing plan, or
22                  explain why no marketing is required. …

23                          (3)    Service of the Notice and Motion. The moving party
                    must serve the motion and notice of the motion and hearing by personal
24                  delivery, messenger, telephone, fax, or email to the parties to whom
                    notice of the motion is required to be given by the FRBP or by these
25
                    rules, any other party that is likely to be adversely affected by the
26                  granting of the motion, and the United States trustee. The notice of
                    hearing must state that any response in opposition to the motion must
27                  be filed and served at least 1 day prior to the hearing, unless otherwise
                    ordered by the court.
28                  ...
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 1   Loc. Bankr. R. 6004-1(b).

 2          The Trustee respectfully submits that all of the information required under Local

 3   Bankruptcy Rule 6004-1(b)(2) to be provided in a notice of a bidding procedures motion will be

 4   included in the Notice of Motion once the Trustee obtains a hearing date from the Court.

 5          Section 363(b)(1) of the Bankruptcy Code provides that “[t]he trustee, after notice and a

 6   hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

 7   estate….” 11 U.S.C. § 363(b)(1). Section 105(a) of the Bankruptcy Code provides in pertinent part

 8   that “[t]he court may issue any order, process, or judgment that is necessary and appropriate to
 9   carry out the provisions of this title.” 11 U.S.C. § 105 (a). Bankruptcy Rules 2002 and 6004 govern
10   the scope of the notice to be provided in the event a debtor elects to sell property of the estate
11   under Section 363; however, with respect to the procedures to be adopted in conducting a sale
12   outside the ordinary course of a debtor’s business, Bankruptcy Rule 6004 provides only that such
13   sale may be by private sale or public auction, and requires only that the debtor provide an itemized
14   list of the property sold together with the prices received upon consummation of the sale. Bankr.
15   R. 6004(f).
16          Neither the Bankruptcy Code nor the Bankruptcy Rules contain specific provisions with
17   respect to the procedures to be employed by a debtor in conducting a public or private sale.
18   Nonetheless, as one Court has stated, “It is a well-established principle of bankruptcy law that the

19   objective of bankruptcy rules and the [Debtor’s] duty with respect to such sales is to obtain the

20   highest price or greatest overall benefit possible for the estate.” In re Atlanta Packaging Prods.,

21   Inc., 99 B.R. 124, 131 (Bankr. N.D. Ga. 1988). Preapproval of bid procedures and terms facilitates

22   bidding by providing a fair and efficient process, ensuring fair comparability between competing

23   bids, and protecting other bidders who have limited their bids to the announced terms. See In re

24   Fin. News Network, Inc., 126 B.R. 152, 156 (Bankr. S.D.N.Y. 1991).

25          A corollary to these principles is that a bankruptcy court will evaluate a proposed sale

26   transaction in its totality and will approve the sale if the agreement as a whole is supported by an

27   articulated business judgment.

28          The Trustee has concluded that the auction and bidding procedures outlined above are
                                                     22
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 1   designed to enable the Debtor’s estate to obtain the highest price possible for the Purchased Assets

 2   (including after taking into account execution risk) and provide the greatest possible recovery for

 3   the Debtor’s creditors. The Trustee believes that the sale process will be thorough and adequate to

 4   obtain the highest and best offer for the Purchased Assets, subject to the opportunity for others to

 5   participate in accord with the proposed Bidding Procedures.

 6          The Bidding Procedures serve numerous legitimate purposes. The Bidding Procedures

 7   (i) foster competitive bidding among any serious potential purchasers; (ii) eliminate from

 8   consideration purchasers who would waste the estate’s time because they would not have the
 9   financial ability or certainty of execution to consummate the transaction; (iii) ensure that the
10   highest possible price is obtained for the Purchased Assets; and (iv) afford the broadest notice of
11   the proposed sale as possible under the circumstances.
12   B.     The Notices in Connection with the Auction Sale and Hearing, and Assignment of
            Contracts Are Reasonable and Should Be Approved.
13

14          The Bidding Procedures Order also calls for the approval of the form of (i) the Proposed

15   Sale Notice and (ii) the form of the Proposed Assignment Notice. The Proposed Sale Notice is

16   reasonably designed to alert parties to the Auction, the Bidding Procedures, the Sale Hearing and

17   time for objections. The Proposed Assignment Notice and procedure is reasonably designed to

18   facilitate the sale process by advising parties to contracts which may be assumed and assigned of

19   the terms of assignment, including any cure amount, and to allow for objections to the assignment

20   to the Winning Bidder for objections to the revised proposed assignment and proposed cure

21   amount. In the event no objection is timely made, the non-debtor parties to assumed and assigned

22   contracts will be deemed to have consented to and waived objections to (i) the assumption and

23   assignment; (ii) adequate assurance of future performance; (iii) the proposed cure amount; and

24   (iv) the terms of the Sale Order.

25          These notices and attendant procedures will provide interested creditors and other parties-

26   in-interest (including creditors of the Debtor’s subsidiaries who might be affected by the proposed

27   Sale) and contract counterparties adequate notice and opportunity to object, as well as notifying

28   parties who may wish to bid.
                                                     23
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 1                                       VI.     CONCLUSION

 2          The Trustee respectfully requests that this Court:

 3          1.     Enter an order substantially in the form of the Bidding Procedures Order attached

 4   hereto as Exhibit A:

 5                 a. Approving the auction sale format and Bidding Procedures as provided above;

 6                 b. Approving the Trustee’s proposed form of auction and sale hearing notice to be

 7                     provided to creditors of the Debtor and its non-debtor subsidiaries and other

 8                     parties-in-interest in the form attached hereto as Exhibit B; and
 9                 c. Approving the Trustee’s proposed form of notice and procedures regarding the

10                     assumption and assignment of executory contracts and unexpired leases,

11                     establishment of cure amounts, and objections in the form attached hereto as

12                     Exhibit C;

13          2.     Schedule a Court hearing to consider approval of the sale of the Purchased Assets

14   to the Winning Bidder or the Winning Back-Up Bidder, pursuant to the terms and conditions of

15   the Asset Purchase Agreement with the Winning Bidder or the Asset Purchase Agreement with

16   the Winning Back-Up Bidder, as the case may be, and the Bidding Procedures; and

17          3.     Grant such other and further relief as the Court deems just and proper.

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 2    Dated: October 7, 2024                  CRAVATH, SWAINE & MOORE LLP

 3

 4                                            By:
 5                                                  GEORGE H. ZOBITZ (pro hac vice)
                                                    ALEXANDER GERTEN (pro hac vice)
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                                                    375 9th Avenue
 7                                                  New York, NY 10001
 8
 9                                            KELLER BENVENUTTI KIM LLP
10

11
                                              By:   /s/ Thomas B. Rupp
12                                                  JANE KIM
                                                    JEREMY V. RICHARDS
13                                                  THOMAS B. RUPP
14                                                  425 Market Street, 26th Floor
                                                    San Francisco, CA 94105
15
                                                    Counsel for Jelena McWilliams,
16                                                  in her capacity as Chapter 11 Trustee for
                                                    Synapse Financial Technologies, Inc.
17

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                                             25
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Cravath, Swaine & Moore LLP, 2 Manhattan West, 375 Ninth Avenue, New York, NY 10001

A true and correct copy of the foregoing document entitled (specify): CHAPTER 11 TRUSTEE’S MOTION FOR AN
ORDER (A) APPROVING BIDDING PROCEDURES WITH RESPECT TO THE TRANSFER AND SALE OF
SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS, (B) APPROVING PROCEDURES RELATED TO THE
ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES, (C)
APPROVING THE FORM AND MANNER OF NOTICES RELATED TO THE AUCTION AND SALE, (D) SCHEDULING
THE SALE HEARING, AND (E) GRANTING RELATED RELIEF
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
10/7/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Raymond O Aghaian raghaian@kilpatricktownsend.com, ndelman@kilpatricktownsend.com;moroberts@ktslaw.com
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            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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Beth Ann R. Young bry@lnbyg.com, bry@lnbyb.com



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 10/7/2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Darren Azman
One Vanderbilt Avenue
New York, NY 10017-3852

Jake Jumbeck
MCDERMOTT WILL & EMERY LLP
444 W. Lake Street, Suite 4000
Chicago, IL 60606-0029

Robert J Labate
400 South Hope Street, 8th Floor
Los Angeles, CA 90071

Neda Shapourian
Unit21, Inc.
49 Geary St. Ste 200
San Francisco, CA 94108


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 10/7/2024, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

None.



                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  10/7/2024                         Robert N. Greenfield                                         /s/ Robert N. Greenfield
  Date                            Printed Name                                                   Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
